     Case 2:07-cr-00139-WKW-SRW Document 32 Filed 08/06/07 Page 1 of 9




                   IN THE UNITED STATES DISTRICT COURT FOR
                       THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           2:07cr139-WKW
                                               )               WO
AZUCENAS GARCIA                                )

                              ORDER ON ARRAIGNMENT

       On August 1, 2007, the defendant, AZUCENAS GARCIA, appeared in person and
in open court with counsel, Kevin Butler, and was arraigned in accordance with the
provisions of Rule 10 of the Federal Rules of Criminal Procedure.

       PLEA. The defendant entered a plea of NOT GUILTY. Counsel for the defendant
is requested to contact the U. S. Attorney immediately if the defendant intends to engage in
plea negotiations. If the defendant decides to change this plea, the parties shall file a notice
of intent to plead guilty or otherwise notify the clerk’s office at or before the pretrial
conference and then this action will be set on a plea docket.

       PRELIMINARY SENTENCING GUIDELINES INFORMATION. The court no
longer requires the United States Probation Office to provide preliminary sentencing
guideline information to defendants. However, in difficult or complex cases defendants may
request the United States Probation Office to provide Sentencing Guideline calculation
assistance with the understanding that any estimate is tentative only and is not binding on the
United States Probation Office, the parties or the court. The court expects that requests for
Sentencing Guideline calculation assistance shall be the exception and that defendants will
not make such requests a matter of routine. A request for Sentencing Guideline calculation
assistance shall be made to the United States Probation Office not later than 10 days from
the date of this order.

       PRETRIAL CONFERENCE. An initial pretrial conference is hereby set for August
27, 2007 at 3:00 p.m. before U. S. Magistrate Judge Susan Russ Walker in Courtroom
5-B, Frank M. Johnson, Jr. Federal Building and United States Courthouse Complex, One
Church Street, Montgomery, Alabama. Not later than three (3) days prior to the date of
the pretrial conference, counsel shall confer about the issues and matters to be
discussed at the pretrial conference as set forth in this order. Counsel who want in-
custody defendants to attend must notify the Magistrate Judge within three days of the
conference date so that an order to produce can be issued to the United States Marshal.
     Case 2:07-cr-00139-WKW-SRW Document 32 Filed 08/06/07 Page 2 of 9




        At the pretrial conference defense counsel and counsel for the government shall be
fully prepared to discuss all pending motions, the status of discovery, possible stipulations,
and the estimated length of the trial. The defense counsel and counsel for the government
shall be fully prepared to provide a definite commitment as to the final disposition of this
case - by trial, plea or other non-trial disposition. If resolution of a dispositive motion will
affect the nature of this commitment, counsel must be fully prepared to discuss this type of
resolution. If the case is for plea, the notice of intent to enter a plea should be filed at the
time of the pretrial conference. If counsel require additional time for plea negotiations,
counsel should be prepared to inform the court about the date when those negotiations will
be completed..

       TRIAL. At arraignment, the parties agreed that due to the nature of this case, the
need for adequate time for discovery and the need for counsel to have adequate time for trial
preparation, the case should be set for trial before United States District Judge William
Keith Watkins on the trial term beginning on November 5, 2007, unless otherwise ordered
by the court.

         In setting this case for trial on the term indicated above, the court recognizes that the
Speedy Trial Act places limits on the court’s discretion, and that under the act, the trial of a
defendant must commence within 70 days of the date of the indictment or the date of the
defendant’s first appearance before a judicial officer, whichever is later. 18 U.S.C. §
3161(c)(1). In determining whether a case should be set after the expiration of the 70 day
period, a court must consider among other factors “[w]hether the failure to [set the case at
a later date] . . . would be likely to . . . result in a miscarriage of justice.” 18 U.S.C. §
3161(h)(8)(B)(I). The court also must consider “whether the failure to grant such a
continuance . . . would deny counsel for the defendant or the attorney for the government the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence.” 18 U.S.C. § 3161(h)(8)(B)(iv). Based on the nature of this case, the parties’
need for adequate time for discovery and the need for counsel to have adequate time for trial
preparation, the court finds that the ends of justice served by setting this case on this trial
term outweigh the best interest of the public and the defendant in a speedy trial. Any
requested voir dire questions and jury instructions must be filed no later than one week
before jury selection.

       PRETRIAL MOTIONS. All pretrial motions under Fed. R. Crim. P. 12(b) and (d),
14 and 16, all notices under Fed. R. Crim. P. 12.1, 12.2 and 12.3, and any motion to compel
pursuant to this court’s standing order on discovery must be filed no later than TWO DAYS
BEFORE THE FIRST PRETRIAL CONFERENCE HELD IN THIS CASE. No
motion filed after this date will be considered unless filed with leave of court. A continuance
of the pretrial conference or trial does not extend the motions deadline. THE
CONFERENCING REQUIREMENT SET FORTH IN THE STANDING ORDER ON

                                                2
     Case 2:07-cr-00139-WKW-SRW Document 32 Filed 08/06/07 Page 3 of 9




CRIMINAL DISCOVERY SHALL BE MET BEFORE THE COURT WILL
CONSIDER ANY DISCOVERY MOTION. THE COURT WILL NOT GRANT
MOTIONS TO ADOPT MOTIONS FILED BY OTHER DEFENDANTS.

        Motions to suppress must allege specific facts which, if proven, would provide a basis
of relief. This Court will summarily dismiss suppression motions which are supported only
by general conclusory assertions founded on mere suspicion or conjecture. All grounds
upon which the defendant relies must be specifically stated in the motion in separately
numbered paragraphs in a section of the motion which is labeled “Issues Presented”.
Grounds not stated in the “Issues Presented” section of the motion will be deemed to
have been waived. See generally United States v. Richardson, 764F.2d 1514, 1526-27 (11th
Cir. 1985).

      The government shall file a response to all motions filed by the defendant on or
before five days prior to the date set for a hearing on the motion or, if no hearing is
necessary, on or before ten (10) days after the date of the pretrial conference.

       DISCOVERY. All discovery in this action shall be conducted according to the
requirements of this court’s Standing Order on Criminal Discovery. A copy of the standing
order is attached and also may be found at http://www.almd.uscourts.gov/. Unless the
government provided initial disclosures to the defendant prior to or at arraignment, the
government is ORDERED to tender initial disclosure to the defendant on or before August
1, 2007. Disclosures by the defendant, as required by ¶4 of the Standing Order on Criminal
Discovery shall be provided on or before August 8, 2007.

        JENCKS ACT STATEMENTS. The government agrees to provide defense counsel
with all Jencks Act statements no later than the day scheduled for the commencement of the
trial.1

        MANDATORY APPEARANCE OF COUNSEL. Counsel of record for all parties
are ORDERED to appear at all future court proceedings in this criminal case. Those
attorneys who find it impossible to be in attendance (especially at the pretrial conference,
jury selection, or trial) must make arrangements to have substitute counsel appear on behalf
of their clients. Any attorney who appears as substitute counsel for a defendant shall have
full authorization from the defendant to act on his or her behalf and be fully prepared to


       1
        In certain complex cases, the government may agree to earlier production.




                                               3
     Case 2:07-cr-00139-WKW-SRW Document 32 Filed 08/06/07 Page 4 of 9




proceed. Substitute counsel shall not be counsel for a co-defendant unless permitted by the
court after proper motion. Any counsel who wishes to have substitute counsel appear must
obtain permission of the court in advance.

      NOTE: Except in extraordinary circumstances or circumstances in which the
Constitution would require it, the court will not entertain motions to withdraw filed by
counsel who appear at arraignment unless the motions are filed within seven days of the
date of this order. Failure to obtain fees from a client is not an extraordinary
circumstance.

      DONE, this 6th day of August, 2007.



                                         /s/ Susan Russ Walker
                                         SUSAN RUSS WALKER
                                         UNITED STATES MAGISTRATE JUDGE




                                            4
      Case 2:07-cr-00139-WKW-SRW Document 32 Filed 08/06/07 Page 5 of 9




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA


STANDING ORDER ON CRIMINAL DISCOVERY

       It is the court's policy to rely on the standard discovery procedure as set forth in this Order

as the sole means of the exchange of discovery in criminal cases except in extraordinary

circumstances. This Order is intended to promote the efficient exchange of discovery without

altering the rights and obligations of the parties, but at the same time eliminating the practice of

routinely filing perfunctory and duplicative discovery motions.

       INITIAL DISCLOSURES:

       (1)     Disclosure by the Government. At arraignment, or on a date otherwise set by the

court for good cause shown, the government shall tender to defendant the following:

       (A)     Fed.R.Crim.P. 16(a) Information. All discoverable information within the scope of

               Rule 16(a) of the Federal Rules of Criminal Procedure.

       (B)     Brady Material. All information and material known to the government which may

               be favorable to the defendant on the issues of guilt or punishment, without regard to

               materiality, within the scope of Brady v. Maryland, 373 U.S. 83 (1963).

       (C)     Giglio Material. The existence and substance of any payments, promises of

               immunity, leniency, preferential treatment, or other inducements made to prospective

               witnesses, within the scope of United States v. Giglio, 405 U.S. 150 (1972).

       (D)     Testifying informant's convictions. A record of prior convictions of any alleged

               informant who will testify for the government at trial.

       (E)     Defendant's identification. If a line-up, show-up, photo spread or similar procedure


                                                 5
Case 2:07-cr-00139-WKW-SRW Document 32 Filed 08/06/07 Page 6 of 9




       was used in attempting to identify the defendant, the exact procedure and participants

       shall be described and the results, together with any pictures and photographs, shall

       be disclosed.

 (F)   Inspection of vehicles, vessels, or aircraft. If any vehicle, vessel, or aircraft was

       allegedly utilized in the commission of any offenses charged, the government shall

       permit the defendant's counsel and any expert selected by the defense to inspect it,

       if it is in the custody of any governmental authority.

 (G)   Defendant's latent prints. If latent fingerprints, or prints of any type, have been

       identified by a government expert as those of the defendant, copies thereof shall be

       provided.

 (H)   Fed.R.Evid.404(b). The government shall advise the defendant of its intention to

       introduce evidence in its case in chief at trial, pursuant to Rule 404(b) of the Federal

       Rules of Evidence.

 (I)   Electronic Surveillance Information. If the defendant was an "aggrieved person" as

       defined in 18 U.S.C. §2510(11), the government shall so advise the defendant and

       set forth the detailed circumstances thereof.

 (2)   Obligations of the Government.

 (A)   The government shall anticipate the need for, and arrange for the transcription of, the

       grand jury testimony of all witnesses who will testify in the government's case in

       chief, if subject to Fed.R.Crim.P. 26.2 and 18 U.S.C. §3500. Jencks Act materials

       and witnesses' statements shall be provided as required by Fed.R.Crim.P. 26.2 and

       18 U.S.C. §3500. However, the government, and where applicable, the defendant,


                                          6
      Case 2:07-cr-00139-WKW-SRW Document 32 Filed 08/06/07 Page 7 of 9




                are requested to make such materials and statements available to the other party

                sufficiently in advance as to avoid any delays or interruptions at trial. The court

                suggests an early disclosure of Jencks Act materials.

          (B)   The government shall advise all government agents and officers involved in the case

                to preserve all rough notes.

          (C)   The identification and production of all discoverable evidence or information is the

                personal responsibility of the Assistant United States Attorney assigned to the case

                and may not be delegated without the express permission of the court.

          (3)   Disclosures to U.S. Probation. At arraignment, or on a date otherwise designated

by the court upon good cause shown, the government shall tender to the U.S. Probation Office all

essential information needed by U.S. Probation to accurately calculate the sentencing guideline

range for the defendant, including, but not limited to, information regarding the nature of the offense

(offense level), the nature of the victim and the injury sustained by the victim, defendant's role in

the offense, whether defendant obstructed justice in the commission of the crime, defendant's

criminal history, and any information regarding defendant's status as a career offender/armed career

criminal. In addition, in order to comply with the requirements of the Anti-Terrorism Act, the

government shall produce to the U.S. Probation Office information regarding the victims of

defendant's alleged criminal activity, including, but not limited to, the identity of the victim by name,

address, and phone number, and the nature and extent of the victim's loss or

injury.

          (4)   Disclosures by the Defendant. If defendant accepts or requests disclosure of

discoverable information pursuant to Fed.R.Crim.P. 16(a)(1)(C), (D), or (E), defendant, on or before


                                                   7
      Case 2:07-cr-00139-WKW-SRW Document 32 Filed 08/06/07 Page 8 of 9




a date set by the court, shall provide to the government all discoverable information within the scope

of Fed.R.Crim.P. 16(b).

       SUPPLEMENTATION. The provisions of Fed.R.Crim.P. 16(c) are applicable. It shall be

the duty of counsel for all parties to immediately reveal to opposing counsel all newly discovered

information, evidence, or other material within the scope of this Rule, and there is a continuing duty

upon each attorney to disclose expeditiously.

       MOTIONS FOR DISCOVERY. No attorney shall file a discovery motion without first

conferring with opposing counsel, and no motion will be considered by the court unless it is

accompanied by a certification of such conference and a statement of the moving party's good faith

efforts to resolve the subject matter of the motion by agreement with opposing counsel. No

discovery motions shall be filed for information or material within the scope of this Rule unless it

is a motion to compel, a motion for protective order or a motion for an order modifying discovery.

See Fed.R.Crim.P. 16(d). Discovery requests made pursuant to Fed.R.Crim.P. 16 and this Order

require no action on the part of this court and shall not be filed with the court, unless the party

making the request desires to preserve the discovery matter for appeal.

       DONE this 4th day of February, 1999.

                                       /s/ W. Harold Albritton
                                       W. HAROLD ALBRITTON
                                       Chief United States District Judge

                                       /s/ Myron H. Thompson
                                       MYRON H. THOMPSON
                                       United States District Judge


                                       /s/Ira DeMent
                                       IRA DeMENT
                                       United States District Judge

                                                  8
Case 2:07-cr-00139-WKW-SRW Document 32 Filed 08/06/07 Page 9 of 9




                                9
